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 8                          UNITED STATES DISTRICT COURT
 9                       SOUTHERN DISTRICT OF CALIFORNIA
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11    ROSS HUNTER,                                         CASE NO. 10cv1990-LAB (WMC)
12                                      Plaintiff,         ORDER DISMISSING CASE
            vs.
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      NCO FINANCIAL SYSTEMS, INC.,
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                                     Defendant.
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18         Pursuant to a joint motion filed by the parties, this case is dismissed with prejudice.
19   Each party shall bear its own fees and costs.
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21         IT IS SO ORDERED.
22   DATED: January 18, 2011
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24                                               HONORABLE LARRY ALAN BURNS
                                                 United States District Judge
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